                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    AT CHATTANOOGA

 UNITED STATES OF AMERICA                      )
                                               )
 v.                                            )      Case No. 1:09-CR-181
                                               )
 STEPHEN BAIRD                                 )      COLLIER/CARTER


                                             ORDER

        On July 29, 2010, Magistrate Judge William B. Mitchell Carter filed a Report and

 Recommendation recommending (a) the Court accept Defendant’s plea of guilty to Counts One and

 Twenty-Eight of the Indictment in exchange for the undertakings made by the government in the

 written plea agreement; (b) the Court adjudicate Defendant guilty of the charges set forth in Counts

 One and Twenty-Eight of the Indictment; (c) that a decision on whether to accept the plea agreement

 be deferred until sentencing; and (d) Defendant shall remain in custody pending sentencing in this

 matter (Court File No. 668). Neither party filed an objection within the given fourteen days. After

 reviewing the record, the Court agrees with the magistrate judge’s report and recommendation.

 Accordingly, the Court ACCEPTS and ADOPTS the magistrate judge’s report and

 recommendation pursuant to 28 U.S.C. § 636(b)(1) and ORDERS as follows:

        (1) Defendant’s plea of guilty to Counts One and Twenty-Eight of the Indictment, in

 exchange for the undertakings made by the government in the written plea agreement, is

 ACCEPTED;

        (2) Defendant is hereby ADJUDGED guilty of the charges set forth in Counts One and

 Twenty-Eight of the Indictment;

        (3) A decision on whether to accept the plea agreement is DEFERRED until sentencing; and

        (4) Defendant SHALL REMAIN IN CUSTODY pending sentencing on Thursday,



Case 1:09-cr-00181-TRM-CHS           Document 705         Filed 08/18/10     Page 1 of 2      PageID
                                           #: 1491
 December 2, 2010, at 2:00 p.m.

       SO ORDERED.

       ENTER:


                                         /s/
                                         CURTIS L. COLLIER
                                         CHIEF UNITED STATES DISTRICT JUDGE




                                           2


Case 1:09-cr-00181-TRM-CHS        Document 705    Filed 08/18/10   Page 2 of 2   PageID
                                        #: 1492
